             Case 8:18-bk-02807-RCT         Doc 31     Filed 04/29/19     Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:                                                       Case No.: 8:18-bk-02807-RCT
                                                             Chapter 7
Mark Alan Piburn
Judith Ann Piburn

         Debtors               /


                    APPLICATION FOR COMPENSATION FOR REALTOR

                               NOTICE OF OPPORTUNITY TO
                             OBJECT AND REQUEST A HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
further notice or hearing unless a party in interest files a response within 21 days from the date
set forth on the attached proof of service, plus an additional three days for service if any party
was served by U.S. Mail. If you object to the relief requested in this paper, you must file a
response with the Clerk of the Court at 801 N. Florida Ave., Suite 555, Tampa, FL 33602-3899
and serve a copy on the movant’s attorney, Richard M. Dauval, 3900 1st Street North, Suite 100,
Saint Petersburg, FL 33703, and any other appropriate persons within the time allowed.

If you file and serve a response within the time permitted, the Court will either schedule and
notify you of a hearing, or consider the response and grant or deny the relief requested without a
hearing.

If you do not file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice
or hearing, and may grant the relief requested.


Stephen L. Meininger, Trustee, files this Application for Compensation for BKGlobal Real

Estate Services and Marcia Peacock of Keller Williams Realty (“Listing Agent”), in the above-

captioned case and in support thereof states:

1. The Court has approved the employment of Listing Agent, in this case (Doc. No. 24).

2.   A copy of the proposed HUD 1 Statement is attached, wherein Listing Agent is proposed to

     receive $ 5,700.00 (or 6 % of the base sale price) from the proceeds of the proposed sale of
            Case 8:18-bk-02807-RCT          Doc 31     Filed 04/29/19     Page 2 of 2



    real property located at 2690 Alturas Road, Bartow, FL 33830.

3. The Trustee asserts that the fees sought by Listing Agent are customary and standard in the

    residential real property industry.

4. The Trustee believes that Listing Agent provided a valuable service to the Estate and should

    be afforded the compensation described above.

5. The Applicant seeks the authority to share any compensation awarded with cooperating

    agents and related parties.

        WHEREFORE, the Trustee respectfully requests that the Court award fees to the

Realtor for services rendered in this case and for any other relief as the Court deems

just.


                                                     Respectfully submitted,

                                                      /s/ Richard M. Dauval __
                                                      Richard M. Dauval, Attorney for Trustee


                               CERTIFICATE OF SERVICE


I certify that a true and correct copy of the Application for Compensation for Realtor was served
by electronic delivery to the Office of the United States Trustee on:
April 29, 2019

                                                     /s/ Richard M. Dauval __
                                                     Richard M. Dauval, Attorney for Trustee
                                                     3900 1st Street N
                                                     St. Petersburg, FL 33703
                                                     Telephone:(727)327-3328
